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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     5/27/2020

 WILLIAM JARRAD LITTLETON,

                                            Plaintiff,                 20-CV-00949 (CM)(SN)

                          -against-                                            ORDER


GOLDMAN SACHS GROUP, INC., et al.,

                                             Defendant.
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SARAH NETBURN, United States Magistrate Judge:

        In light of the public health crisis, the settlement conference scheduled for Thursday,

May 28, 2020, at 2:00 p.m. will be conducted telephonically rather than in person. The Court

will provide dial-in information by email before the conference. If any party is unavailable to

participate by telephone conference, that party shall notify the Court and the conference will be

adjourned.

SO ORDERED.




DATED:           May 27, 2020
                 New York, New York
